       Case: 1:25-cv-03060 Document #: 1 Filed: 03/21/25 Page 1 of 12 PageID #:1


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

  IN RE: HAIR RELAXER
                                                          MDL No. 3060
  MARKETING, SALES PRACTICES,
                                                          Master Docket Case No. 1:23-cv-00818
  AND PRODUCTS LIABILITY
                                                          Honorable Mary M. Rowland
  LITIGATION

 Adrienne Marie McCurn, Cornelis Maria Wijnands,
 Plaintiff,
                                                          SHORT-FORM COMPLAINT AND JURY
  v.                                                      DEMAND
 L'Oreal USA, Inc., L'Oreal USA Products,
 Inc., SoftSheen-Carson, LLC, Luster Products,                             1:25-cv-3060
                                                          Civil Action No. _____________________
 Inc., Namaste Laboratories, LLC
 Defendants.




        1.     Plaintiff(s)/Injured Party/Decedent (hereinafter, “Plaintiff(s)”) incorporate by

 reference Plaintiffs’ Master Long Form Complaint in In Re: Hair Relaxer Marketing, Sales

 Practices and Products Liability Litigation, MDL 3060, filed as of May 15, 2023, as Document

 Number 106.

        2.     Plaintiff(s),________________________,
                            Adrienne Marie McCurn and Cornelis Maria Wijnands
                                                                              file(s) this Complaint pursuant to CMO

No. 2 and is to be bound by the rights, protections and privileges, and obligations of that CMO

and other Orders of the Court. Further, in accordance with CMO No. 2, Plaintiff(s) hereby

designate(s) the United States District Court for the _____________________________
                                                      Northern District of Illinois as

Plaintiff’s designated venue (“Original Venue”). Plaintiff makes this selection based upon

one (or more) of the following factors (please check the appropriate box(es)):

              Plaintiff currently resides in _____________________ (City/State);

              Plaintiff purchased and used Defendant(s)’ products in _____________________
              (City/State);

              The Original Venue is a judicial district in which Defendant currently resides, and all
              defendants are residents of the State in which the district is located (28 U.S.C. § 1391(b)
              (1)).
                                                      1
      Case: 1:25-cv-03060 Document #: 1 Filed: 03/21/25 Page 2 of 12 PageID #:2

              The Original Venue is a judicial district in which a substantial part of the events
              or omissions giving rise to the claim occurred, specifically (28 U.S.C. §
              1391(b)(2)): __________________________________________________________

               There is no district in which an action may otherwise be brought under 28 U.S.C.
               § 1391, and the Original Venue is a judicial district in which Defendant
               _________________________ is subject to the Court’s personal jurisdiction with
               respect to this action (28 U.S.C. § 1391(b)(3)).

              Other reason (please explain):




       3.      For   purposes    of    diversity       jurisdiction,   Plaintiff    is   a   citizen     of

Castro Valley, CA
_____________________ (State/Territory).

       4.      Plaintiff is suing the following Defendants, and for purposes of diversity, whose

State of Incorporation/Formation and Principal Place of Business is as follows:

  Check All                                                                  State of          Principal Place
                                      Defendant
  Applicable                                                              Incorporation              of
  Defendants                                                              or Formation            Business
                  AFAM Concept, Inc. d/b/a JF Labs, Inc.                 Illinois             Illinois
                  Avlon Industries                                       Illinois             Illinois
                  Beauty Bell Enterprises LLC f/k/a House of
                                                                         Georgia              Georgia
                  Cheatham, Inc.
                  Dabur International Ltd.                               Isle of Man          Dubai
                  Dabur International USA Ltd.                           India                Illinois
                  Dermoviva Skin Essentials, Inc.                        Delaware             New Jersey
                  Godrej SON Holdings, Inc.                              Georgia              Georgia
                  House of Cheatham LLC                                  Delaware             Georgia
                  L’Oréal USA, Inc.                                      Delaware             New York
                  L’Oréal USA Products, Inc.                             Delaware             New York
                  Luster Products, Inc.                                  Illinois             Illinois
                  McBride Research Laboratories, Inc.                    Georgia              Georgia



                                                   2
   Case: 1:25-cv-03060 Document #: 1 Filed: 03/21/25 Page 3 of 12 PageID #:3
Check All                                                  State of      Principal Place
                           Defendant
Applicable                                              Incorporation           of
Defendants                                              or Formation         Business
             Namaste Laboratories LLC                   Illinois         Illinois
             Revlon Consumer Products Corporation       Delaware        New York
             Revlon Group Holdings LLC                  Delaware        Delaware
             Revlon, Inc.                               Delaware         New York
             SoftSheen-Carson LLC                       New York         New York
             Strength of Nature, LLC                    Georgia          Georgia
             Other (Please identify):



             Other (Please identify):



             Other (Please identify):



             Other (Please identify):



             Other (Please identify):



             Other (Please identify):



             Other (Please identify):



             Other (Please identify):



             Other (Please identify):



             Other (Please identify):




                                         3
        Case: 1:25-cv-03060 Document #: 1 Filed: 03/21/25 Page 4 of 12 PageID #:4

    Check All                                                             State of         Principal Place
                                      Defendant
    Applicable                                                         Incorporation             of
    Defendants                                                         or Formation           Business
                   Other (Please identify):



                   Other (Please identify):



                   Other (Please identify):



                   Other (Please identify):



                   Other (Please identify):




                               CASE SPECIFIC FACTS REGARDING
                          HAIR RELAXER PRODUCT USE AND INJURIES

         5.       Upon information and belief, Plaintiff began using hair relaxer product(s) on or

  about the following date ________________and
                           approximately 1971  if applicable, stopped using hair relaxer

                                             approximately 2015
  product(s) on or about the following date: _________________.

         6.       Upon information and belief, Plaintiff used the following hair relaxer product(s),

  which Plaintiff contends caused and/or contributed to their injury(ies) and brings claims against

  the following Defendants:


      Defendant                         Product List (Select All Applicable Products)
AFAM Concept, Inc.            Hawaiian Silky - Crème Conditioning No Lye Silky Smooth Sheen
d/b/a JF Labs, Inc.           Relaxer
                              Hawaiian Silky - Herbal No Lye Conditioning Relaxer System with Tea
                              Tree & Avocado Oil - 2 Applications
                              Vitale - Olive Oil Anti-Breakage Relaxer No Base with Shea Butter -
                              Regular Strength



                                                  4
        Case: 1:25-cv-03060 Document #: 1 Filed: 03/21/25 Page 5 of 12 PageID #:5



      Defendant                      Product List (Select All Applicable Products)
AFAM Concept, Inc.        Vitale Pro - New Texture Salon Exclusive Hair Relaxer
d/b/a JF Labs, Inc.       Vitale Mo'Body - Shea Butter Sensitive Scalp Relaxer with Oatmeal
                          Protein
                          Vitale - Life and Body - Hair Relaxer with Aloe Vera - Smooth Silky
                          Texture
                          Other (please specify):

Avlon Industries, Inc.    Affirm Crème Relaxer
                          Affirm Sensitive Scalp Relaxer
                          Affirm Dry & Itchy Scalp Relaxer
                          Affirm FiberGuard Conditioning Crème Relaxer
                          Affirm FiberGuard Sensitive Scalp Conditioning Relaxer
                          Other (please specify):

Beauty Bell               Africa’s Best Herbal Intensive No-Lye Relaxer System
Enterprises, LLC          Originals by Africa’s Best Originals Olive Oil Conditioning Relaxer
f/k/a House of            Organics by Africa’s Best Olive Oil Conditioning Relaxer System with
Cheatham, Inc.            Extra Virgin Olive Oil
                          Originals by Africa’s Best Kids Originals Natural Conditioning Relaxer
                          System
                          Organics by Africa’s Best Kids Organic Conditioning Relaxer System
                          Organics by Africa’s Best Kids Natural Conditioning Relaxer System
                          Texture My Way Men’s Texturizing Kit
                          Texture My Way Women’s Texturizing & Softening System
                          Other (please specify):

                          Africa’s Best Herbal Intensive No-Lye Relaxer System
House of Cheatham,        Originals by Africa’s Best Originals Olive Oil Conditioning Relaxer
LLC                       Organics by Africa’s Best Olive Oil Conditioning Relaxer System with
                          Extra Virgin Olive Oil
                          Originals by Africa’s Best Kids Originals Natural Conditioning Relaxer
                          System
                          Organics by Africa’s Best Kids Organic Conditioning Relaxer System
                          Organics by Africa’s Best Kids Natural Conditioning Relaxer System
                          Texture My Way Men’s Texturizing Kit
                          Texture My Way Women’s Texturizing & Softening System
                          Other (please specify):

L’Oréal USA, Inc./        Dark and Lovely Beautiful Beginnings No-Mistake Smooth Relaxer
L’Oréal USA               Dark and Lovely Beautiful Beginnings No Mistake Curl Softener
Products, Inc./           Dark and Lovely Healthy Gloss 5 Shea Moisture No Lye Relaxer
SoftSheen-Carson          Dark and Lovely Triple Nourished Silkening Relaxer
LLC                       Optimum Salon Haircare Defy Breakage No-Lye Relaxer



                                              5
        Case: 1:25-cv-03060 Document #: 1 Filed: 03/21/25 Page 6 of 12 PageID #:6



      Defendant                      Product List (Select All Applicable Products)
L’Oréal USA, Inc./        Optimum Salon Haircare Amla Legend Relaxer
L’Oréal USA               Optimum Care Bodifying Relaxer
Products, Inc./           Optimum Multi-Mineral Reduced pH Crème Relaxer
SoftSheen-Carson          Bantu No Base Relaxer
LLC                       Ultra Precise No-Lye Conditioning Relaxer
                          Mizani Butter Blend Relaxer
                          Mizani Butter Blend Sensitive Scalp Rhelaxer
                          Mizani Butterblend Prosolvent Relaxer
                          Mizani Classic Rhelaxer
                          Mizani Sensitive Scalp Rhelaxer
                          Care Free Curl – Cold Wave Chemical Rearranger Super Strength
                          Look of Radiance Permanent Crème Relaxer Kit
                          Other (please specify):

Luster Products           Luster’s Pink Oil Moisturizer No-Lye Conditioning Relaxer
Company                   Luster’s Pink Oil Moisturizer Short Looks Texturizer
                          Luster’s Pink Oil Moisturizer Smooth Touch Relaxer
                          PCJ Kit
                          PCJ No Lye Kit - Adult
                          PCJ No Lye Kit - Children’s
                          ShortLooks Colorlaxer Diamond Black
                          ShortLooks Colorlaxer Passion Red
                          ShortLooks Colorlaxer Sable Brown
                          Other (please specify):

McBride Research          Design Essentials Honey Nectar Relaxer Kit - Time Release Regular
Laboratories              Strength
                          Design Essentials Sensitive Scalp Relaxer System
                          Design Essentials Regular Conditioning Relaxer
                          Other (please specify):

Namaste Laboratories     ORS Olive Oil Built-In-Protection No-Lye Relaxer – Full Application
                         ORS Olive Oil No-Mix Salon Formula Crème Relaxer
                         ORS Olive Oil Ultra Nourish Crème Hair Relaxer
                         ORS Olive Oil Built-In-Protection No-Lye Relaxer – New Growth
                         ORS Olive Oil Zone Relaxer – Targeted Touch-Up No-Lye Hair
                         Relaxer
                         ORS Olive Oil Curl Stretching Texturizer
                         ORS Olive Oil Crème on Crème Touch-Up No-Lye Hair Relaxer
                         ORS Olive Oil Mild Touch Relaxer with 60% Lower Chemical
                         ORS Olive Oil Texlax and Stretch Semi-Straightening System
                         ORS Olive Oil Girls Built-In Protection Plus No-Lye Conditioning Hair
                         Relaxer System



                                              6
        Case: 1:25-cv-03060 Document #: 1 Filed: 03/21/25 Page 7 of 12 PageID #:7



     Defendant                      Product List (Select All Applicable Products)
Namaste Laboratories      ORS Olive Oil Girls Soft Curls No-Lye Crème Texture Softening
                          System
                          ORS HAIRepair No-Lye Conditioning Relaxer System with Cuticle
                          Shield
                          ORS Olive Oil Professional No-Lye Relaxer Kit
                          ORS Olive Oil Professional Crème Relaxer
                          Namasté Salon System Triple Emulsion Relaxer
                          Namasté Salon System Crème Relaxer
                          Namasté Salon System Conditioning Sensitive Scalp No-Lye Relaxer
                          Namasté Salon System Crème Relaxer Salon Trial Pack
                          Other (please specify):

Revlon, Inc./ Revlon      African Pride – No Lye Relaxer Kit
Consumer Products         African Pride – No Base Relaxer
Corporation/ Revlon       African Pride – Multi Length Texturizer Kit
Group Holdings LLC/       African Pride – Dream Kids No Lye Relaxer Kit
Revlon                    All Ways Natural – No Lye Conditioning Crème Relaxer Kit
                          Arosci Aromaphoric Relaxer System
                          Crème Of Nature Relaxer Cream
                          Crème Of Nature Relaxer Kit Argan Oil
                          Crème of Nature Herbarich Conditioning Crème Relaxer System Kit
                          Crème of Nature Herbarich Conditioning Crème Relaxer and Texturizing
                          System
                          Crème of Nature Herbarich No Base Relaxer
                          Crème of Nature No Base Relaxer
                          Crème of Nature No Lye Relaxer
                          Crème of Nature Sodium Relaxer Kit
                          Crème Of Nature Cni No Lye Relaxer
                          Crème Of Nature Cni Sunflower & Coconut Oil - Creme
                          Crème Of Nature Eden Relaxer
                          Fabulaxer No-Lye Relaxer
                          Fabulaxer Gro-7
                          Revlon Realistic No-Base Relaxer
                          Revlon Realistic No Lye Relaxer Kit
                          Other (please specify):

Strength of Nature,       African Pride Olive Miracle Deep Conditioning Crème-on-Crème No Lye
LLC                       Relaxer 8 Salon Pack Touch-Ups
                          African Pride Olive Miracle Deep Conditioning Curls & Coils Texturizer
                          African Pride Olive Miracle Deep Conditioning Curls & Coils Texturizer
                          With Aloe Deep Conditioner
                          African Pride Olive Miracle Deep Conditioning No-Lye Relaxer One
                          Complete Application



                                              7
        Case: 1:25-cv-03060 Document #: 1 Filed: 03/21/25 Page 8 of 12 PageID #:8



      Defendant                     Product List (Select All Applicable Products)
Strength of Nature,       African Pride Olive Miracle Deep Conditioning No-Lye Relaxer, One
LLC                       Complete Touch-Up
                          African Pride Shea Miracle Texture Softening Elongating System
                          African Pride Dream Kids Olive Miracle (4) Touch-Up Relaxer Kit
                          African Pride Dream Kids Olive Miracle Relaxer
                          African Pride Dream Kids Olive Miracle Touch-Up Relaxer Kit
                          Dr. Miracle’s No Lye Relaxer Kit
                          Dr. Miracle’s New Growth No-Lye Relaxer Kit
                          Elasta QP Normal Relaxer Kit
                          Elasta QP Normal Relaxer Kit 2 Applications
                          Elasta QP Resistant Relaxer Kit
                          Elasta QP Sensitive Scalp Kit 12 Application Economy Pack
                          Elasta QP Sensitive Scalp Kit – 4 Applications
                          Elasta QP No Base Crème Relaxer
                          Elasta QP SOY OYL No-Base Relaxer
                          Elasta QP SOY OYL 4 Application Anti-Dryness No Lye Relaxer Kit
                          Elasta QP No-Base Relaxer
                          Elasta QP Extra Body No-Base Regular Relaxer
                          Elasta QP Extra Body No-Base Super Relaxer
                          Gentle Treatment No-Lye Relaxer Gray Kit
                          Gentle Treatment No-Lye Relaxer
                          Just For Me Relaxer 1 Complete Touch Up Relaxer
                          Just For Me 4 Application Salon Pack Relaxer
                          Just For Me No-Lye Conditioning Crème Relaxer Kit
                          Just For Me No-Lye Conditioning Crème Relaxer Kit with Coil & Curl
                          Cream
                          Just For Me No-Lye Conditioning Crème Relaxer Kit (Super) with Oil
                          Moisturize Lotion
                          Just For Me No-Lye Texture Softener System
                          Just For Me No-Lye Texture Softener System with Hair & Scalp Butter
                          Motions Classic Formula Smooth & Silken Hair Relaxer
                          Motions Professional 12-Application Salon Pack
                          Motions Silkening Shine No Lye Relaxer Kit
                          Profectiv MegaGrowth Anti-Damage No-Lye Relaxer 2 Touch Up
                          Application
                          Profectiv MegaGrowth Anti-Damage No-Lye Relaxer 1 Complete Touch
                          Up Application
                          Profectiv Procision Relaxer Kit Regular
                          Profectiv Relax and Refresh Kit Auburn Spice
                          Profectiv Relax and Refresh Kit Cherry Fusion
                          Profectiv Relax and Refresh Kit Jet Black
                          Profectiv Relax and Refresh Kit Mahogany Brown
                          Profectiv Relax and Refresh Kit Silky Black



                                             8
         Case: 1:25-cv-03060 Document #: 1 Filed: 03/21/25 Page 9 of 12 PageID #:9
      Defendant                       Product List (Select All Applicable Products)
Strength of Nature,        Pro-Line Comb Thru Texturizer Kit
LLC                        SmartPerm No-Lye Anti-Breakage Relaxer System
                           SmartPerm No-Lye Anti-Breakage New Growth Relaxer System, Smart
                           Grow Stimulator
                           SmartPerm Smart Valu No-Lye Anti-Breakage Relaxer Kit, 4
                           Applications
                           Smart Perm Smart Valu Smart Gro Stimulator New Growth No-Lye
                           Relaxer with GroRehab 4 Applications
                           S&B® Botanicals™ 2 Application Relaxer
                           S&B® Botanicals™ No-Lye Sensitive Scalp Relaxer, 1-App
                           S&B® Botanicals™ No-Mix Texturizer 2-App, with Deep Conditioner
                           S&B® Botanicals™ No-Mix Texturizer 2-App
                           S&B® Botanicals™ Relaxer 8-Touch Up
                           Soft & Beautiful No-Lye Crème Relaxer
                           Soft & Beautiful No-Lye Ultimate Conditioning Relaxer System
                           TCB Naturals Conditioning Argan Oil Vitamin E & Olive No-Lye
                           Relaxer
                           TCB Naturals Conditioning Argan Oil Vitamin E & Olive No-Lye
                           Relaxer, 2 Applications
                           TCB No-Base Crème Hair Relaxer with Protein & DNA
                           UltraSheen Supreme Conditioning No-Lye Relaxer
                           UltraSheen Ultra Moisturizing No-Lye Relaxer
                           UltraSheen Ultra Moisturizing No-Lye Relaxer, with Keratin
                           Other (please specify):



          7.     Other manufacturer(s)/product(s)        used by Plaintiff not identified above:




          8.     Plaintiff’s use of Defendant(s) hair relaxer product(s) caused serious injuries and

   damages including but not limited to the following:

                 Uterine Cancer
                 Endometrial Cancer
                 Ovarian Cancer
                 Other injuries and/or additional details (please specify):
                 Modified radical abdominal hysterectomy with bilateral salpingo-oophorectomy.




                                                   9
    Case: 1:25-cv-03060 Document #: 1 Filed: 03/21/25 Page 10 of 12 PageID #:10



       9.        Approximate date(s) of diagnosis (injury(ies)), if applicable at this time, that

form(s) the basis of Plaintiff’s claim(s):
                 Diagnosis of Endometrial Adenocarcinoma on or about October 24, 2016 and
                 treatment of Modified radical abdominal hysterectomy with bilateral salpingo-
                 oophorectomy on or about January 27, 2017. Chemotherapy and radiation therapy.


        CAUSES OF ACTION AND THEORIES OF RECOVERY ADOPTED AND
                     INCORPORATED IN THIS LAWSUIT

       10.        Plaintiff(s) hereby adopt(s) and incorporate(s) by reference as if set forth fully

herein, all common factual allegations contained in paragraphs 1 through 114 of the Master Long

Form Complaint on file with the Clerk of the Court for the United States District Court for the

Northern District of Illinois in the matter entitled In Re: Hair Relaxer Marketing, Sales Practices,

and Products Liability Litigation, MDL No. 3060.

       11.        Plaintiff(s) hereby adopt(s) and incorporate(s) by reference as if set forth fully

herein, the following Causes of Action and the Prayer for Relief within the Master Long Form

Complaint on file with the Clerk of the Court for the United States District Court for the Northern

District of Illinois in the matter entitled In Re: Hair Relaxer Marketing, Sales Practices, and

Products Liability Litigation, MDL No. 3060:

             Count I – Negligence and/or Gross Negligence

             Count II – Negligent Misrepresentation

             Count III – Negligence Per Se

             Count IV – Strict Liability: Design Defect

             Count V – Strict Liability: Failure to Warn

             Count VI – Breach of Implied Warranty of Merchantability/ Fitness for a Particular Use

             Count VII – Breach of Express Warranty under state law and the Magnuson-
             Moss Warranty Act, 15 U.S.C. § 2301 et seq.




                                                  10
    Case: 1:25-cv-03060 Document #: 1 Filed: 03/21/25 Page 11 of 12 PageID #:11



             Count VIII – Fraud/ Fraudulent Misrepresentation

             Count IX – Fraudulent Concealment

             Count X – U.S. State and Territory Statutory Consumer Protection and Unfair or
             Deceptive Trade Practices Claims

             Count XI – Unjust Enrichment

             Count XII – Wrongful Death

             Count XIII – Survival Action

             Count XIV – Loss of Consortium

             Count XV – Punitive Damages

             Other Causes of Action:




       12.        Consortium Claim(s) (if applicable): The following individual(s) allege(s)

damages for loss of consortium:
Cornelis Maria Wijnands




       13.        Survival and/or Wrongful Death Claim(s) (if applicable): The following

individual(s)      allege(s)     damages      for        survival   and/or     wrongful        death:




                                                    11
   Case: 1:25-cv-03060 Document #: 1 Filed: 03/21/25 Page 12 of 12 PageID #:12

                                         JURY DEMAND

Plaintiff(s) demand(s) a trial by jury as to all claims in this action.

Dated this the ______day
               21           March
                         of ________________,   25
                                              20____.

                                                         RESPECTFULLY SUBMITTED
                                                         ON BEHALF OF THE PLAINTIFF(S),

                                                          /s/ Edward A. Wallace
                                                           Edward A. Wallace
                                                           David A. Neiman
                                                           WALLACE MILLER
                                                           150 N. Wacker Drive
                                                           Suite 1100
                                                           Chicago, IL 60606
                                                           Phone: (312) 261-6193
                                                           Email: eaw@wallacemiller.com
                                                           Email: dan@wallacemiller.com




                                                  12
